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           EXHIBIT 2
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                        IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TENNESSEE
                                  EASTERN DIVISION

  CONSOLIDATED INDUSTRIES, LLC                        )
  d/b/a WEATHER KING PORTABLE                         )
  BUILDINGS,                                          )
                                                      )
          Plaintiff,                                  )
                                                      ) Civil Action No. l:22-cv-01230
  v.                                                  )
                                                      )
  JESSE A. MAUPIN, BARRY D.                           )
  HARRELL, ADRIAN S. HARROD,                          )
  LOGAN C. FEAGIN, STEPHANIE L.                       )
  GILLESPIE, RYAN E. BROWN,                           )
  DANIEL J. HERSHBERGER, BRIAN                        )
  L. LASSEN, ALEYNA LASSEN, and                       )
  AMERICAN BARN CO., LLC,                             )
                                                      )
          Defendants.                                 )




       JESSE A. MAUPIN'S FIRST SUPPLEMENTAL RESPONSES TO PLAINTIFF’S
                        FIRST SET OF INTERROGATORIES

         Jesse A. Maupin by and through his attorneys, states the following First Supplemental

 Responses Plaintiffs First Set of Interrogatories.

                                      INTERROGATORIES

         3.      Identify each communication you have had with any person or entity (other than

 confidential communications solely with your legal counsel, your spouse, or your accountant)

 between January 1,2021, and through the day of the termination of your employment with Weather

 King (including but not limited to communications with lenders or potential lenders, investors or

 potential investors, business partners or potential business partners, Weather King employees,

 Weather King contractors, Weather King dealers, Weather King builders, Weather King drivers,

 other Weather King business partners, rental companies, and Weather King customers) relating to

 70402379;!
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        5.      Identify each communication you had between January 1,2021, and the day of the

 termination of your employment from Weather King with any person or entity who, at the time o '

 the communication, was a Weather King dealer, driver, customer, lender, landlord, renta

 company, or other business partner relating to your potential departure from Weather King and,

 with respect to each such communication: (a) describe in detail the substance of the

 communication; (b) identify all parties to the communication; (c) identify the date of the

 communication; and (d) identify the mode of the communication (z.e., telephonic conversation,

 email, text message, etc.).

        SUPPLEMENTAL RESPONSE:

         Subject to and without waiving his previous objections, and incorporating his previous

 responses, Maupin states that he had conversations with various dealers and drivers about his

 departure from Weather King verbally and that the does not recall the dates of such conversations.



  Date: May 10, 2023                                      /s/ Thomas G. Pasternak
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                                                          Attorneys for Defendant,
                                                          Jesse A. Maupin
